                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

CYNTHIA ANN JONES,                  )
                                    )
     Plaintiff                      )               CIVIL ACTION NO.
                                    )
     v                              )
                                    )
PIEDMONT HEALTHCARE, INC dba        )
PIEDMONT COLUMBUS REGIONAL          )               JURY TRIAL DEMANDED
                                    )
      Defendant                     )
____________________________________)

                                  COMPLAINT

      COMES NOW Plaintiff and respectfully shows as follows:

                                INTRODUCTION

                                         1.

      Plaintiff, a Caucasian female was employed full-time in hospital security for

Defendant since 2010 and was illegally discriminated against and experienced

disparate treatment, i.e. termination, arising out of a common nucleus of facts,

wherein a male security officer with identical duties and engaging in identical

conduct was merely suspended.

                                         2.

      This action seeks declaratory and injunctive relief and compensatory

damages and punitive damages for gender discrimination in employment pursuant


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to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq., as amended

(“Title VII”), and Title I of the Civil Rights Act of 1991.

                                      PARTIES

                                           3.

      Plaintiff Cynthia Ann Jones is a resident of Phenix City, Alabama and

submits herself to the jurisdiction of this Court.

                                           4.

      Defendant Piedmont Healthcare, Inc. dba Columbus Regional Healthcare

(hereafter “Piedmont” or simply “Defendant”) is a body corporate organized under

the laws of the State of Georgia and has employed more than fifteen (15) persons

for each working day in each of the 20 calendar weeks in the current or preceding

calendar year. Piedmont is responsible for the policies, procedures, and practices

implemented through its various agents, departments, and employees, and for the

injuries occasioned thereby and was Plaintiff’s employer at all times material

hereto. Defendant may be served through its registered agent CSC of Cobb

County, Inc. at 192 Anderson Street, SE, Suite 125, Marietta, GA, 30060, USA.

                          JURISDICTION AND VENUE

                                           5.

      Plaintiff brings this action pursuant to Title VII of the Civil Rights Act of

1964, 42 U.S.C. § 2000e, et seq., as amended (“Title VII”), and Title I of the Civil


                                                2
Rights Act of 1991. Jurisdiction is invoked under 28 U.S.C. §1331 (federal

question) and 28 U.S.C. § 1343 (civil rights).

                                           6.

      The unlawful violations of Plaintiff’s civil rights were committed within the

Middle District of Georgia. Venue is proper in this Court under 28 U.S.C. §

1391(b) and 42 U.S.C. § 2000e-5(f)(3), as every act of which Plaintiff complains

occurred in the Columbus Division of the United States District Court for the

Middle District of Georgia.

                      ADMINISTRATIVE PROCEEDINGS

                                           7.

      Plaintiff timely filed a charge of discrimination with the Equal Employment

Opportunity Commission (“EEOC”) encompassing all of the discriminatory

conduct that is the subject of this Complaint [EX “A”].

                                           8.

      The EEOC rendered a notice of rights on October 23, 2020 [EX “B”]. This

action is filed within ninety days of receipt of said notice.

                                       FACTS

                                           9.

      Plaintiff first became associated with Defendant in 2005 as a contract

security officer.


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                                          10.

        In 2010, Plaintiff was hired as a full-time employee when Defendant formed

its own hospital security unit.

                                          11.

        During the intervening ten years Plaintiff was an exemplary employee, never

having been written up or disciplined in any way and had received regular pay

increases.

                                          12.

        On January 27, 2020 Plaintiff’s daughter’s father, Raheem Hunter, was

admitted through the emergency department at the hospital and died January 30,

2020.

                                          13.

        Hunter was unmarried and intestate but left two children including Miyah

Hunter, Plaintiff’s minor daughter.

                                          14.

        On January 28, 2020 Miyah was given such of her father’s property as had

been harvested upon his admission and placed in secure storage by Tracy

McKinney, a security officer at the hospital, similar to Plaintiff in all material

respects with identical duties and responsibilities but performing different duties

that day.


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                                        15.

      The intensive care unit nurse on duty told Miyah that she could pick up the

property and Plaintiff’s supervisor was informed that because Plaintiff was

employed as a security officer, on duty, Plaintiff wished to avoid the appearance of

impropriety.

                                        16.

      Plaintiff’s supervisor approved Miyah’s picking up the property.

                                        17.

      Commencing January 30, 2020 and continuing to March 12, 2020, Plaintiff

was out for surgery and exercised her rights pursuant to the Family and Medical

Leave Act.

                                        18.

      During the time Plaintiff was out of work she was contacted by a co-worker

and told she was being terminated because her daughter had received her father’s

property.

                                        19.

      Raheem Hunter’s brother, Salaam Hunter, then claimed he was next of kin

and took the property from Miyah (she is 16 years old).




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                                             20.

      On Plaintiff’s return, she was indeed fired for violating some nebulous

policy of Piedmont Healthcare, Inc., the entity doing business as Piedmont

Columbus Regional Piedmont of which she was unaware.

                                             21.

      Plaintiff’s fellow security guard who actually gave Miyah the possessions

was subject to the same personal property protocols as Plaintiff, was not fired but

was only suspended.

                                             22.

      Charles Moffett, the security officer that was disciplined because he

participated in violation of this “policy” was male.

                                             23.

      Plaintiff was treated more harshly than Moffett as part of the same facts

giving rise to the discharge of Plaintiff.

                                             24.

      The illegal discriminatory conduct of Defendant was deliberate and

intentional, and Plaintiff should be compensated to the top tier of Title VII

compensatory and punitive damages available to punish Defendant and discourage

repetition of the egregious, vexatious and burdensome conduct set forth, supra.




                                                   6
                           COUNT I
         GENDER DISCRIMINATION-42 USC § 2000e-2(a)(1), et seq.


                                           25.

      Defendant’s disparate treatment of Plaintiff, because of her sex, in discharge,

alters terms and conditions and privileges of employment, and the conduct violates

the statutory provisions and protections of Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. § 2000e, et seq.

                                           26.

      Because Defendant has deliberately engaged in unlawful discrimination as

against Plaintiff, pursuant to 42 U.S.C. § 2000e, et seq., Plaintiff is entitled to:

      a. Back pay; Wages; Raises; vacation and sick pay; bonuses; lost overtime

pay; cost-of-living increases; medical and parking benefits; group life insurance

contributions; profit-sharing benefits and retirement or pension benefits;

      b. Compensatory damages for anxiety, frustration, anger, fear of the

unknown, demoralization, inconvenience, disappointment, worry, aggravation,

grief, chagrin, mental anguish and other non-economic damages;

      c. Punitive damages in an amount reasonably calculated to punish

Defendant for its intentional and deliberate discrimination as set forth, supra in the

amount of $300,000, as Defendant has in excess of 500 employees;




                                                 7
       d. An award to Plaintiff for reasonable attorneys' fees and costs, 42 U.S.C.

§ 2000e-5(k); and

       e. An award of costs and expenses of litigation.

       WHEREFORE, Plaintiff respectfully prays as follows:

       a) That Summons issue and Defendant be served as by law provided;

       b) That Plaintiff be awarded declaratory judgment that Defendant

violated 42 U.S.C § 2000e-2(a)(1), et seq.;

      c) That this Court enter a permanent injunction, prohibiting Defendant from

engaging in unlawful employment practices in violation of 42 U.S.C § 2000e-

2(a)(1), et seq;

       d) That Plaintiff be awarded judgment in her favor with respect to all

contentions in her Complaint;

       e) That Plaintiff be awarded actual damages as proven at trial, including

back pay and benefits;

       f) That Plaintiff be awarded compensatory damages for anxiety, frustration,

anger, fear of the unknown, demoralization, inconvenience, disappointment, worry,

aggravation, grief, chagrin, mental anguish and other non-economic damages;

       g) That Plaintiff be awarded punitive damages in an amount to be

determined by a jury at trial to be sufficient to prevent such conduct as alleged

herein from occurring in the future and commensurate with the harm done to


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Plaintiff the amount of $300,000 inclusive of amounts for damages set forth in f)

above;

       h) That Plaintiff be awarded reasonable attorney’s fees and expenses of

litigation;

       i) That all issues triable by jury be tried by a jury;

       j) That all costs of this action be taxed to Defendant; and

       k) For such other and further relief as unto this Court may seem just and

equitable in the premises.

Respectfully submitted this 14th day of December 2020.


                                                      /s/ John W. Roper___
                                                      John W. Roper
                                                      Georgia Bar No: 614159

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